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RE: Distribution of BEEQB's equipment
Kolb, Karen <KKolb@foxrothschild.com>
Tue 12/5/2023 10:05 AM
To:​Filipp Petkevitch <filipp.petkevitch@buzko.legal>​
Cc:​Evgeny Krasnov <evgeny.krasnov@buzko.legal>;​Robert Lynch <robert.lynch@buzko.legal>;​Roman Buzko
<roman.buzko@buzko.legal>;​Speer, R. Taylor <TSpeer@foxrothschild.com>​




Good morning. Taylor is in a trial that is scheduled through December 14. I do not have any information with
regard to the disposition of Beeqb’s mining equipment from the Gaffney facility. I have included Mr. Speer on this
email and would ask that when he has a chance that he would reach out to you regarding this matter.




 Karen Kolb
 Client Service Specialist
 2 W. Washington Street
 Suite 1100
 Greenville, SC 29601
     (864) 751-7728
     (864) 751-7800
     kkolb@foxrothschild.com


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From: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Sent: Tuesday, December 5, 2023 6:40 AM
To: Kolb, Karen <KKolb@foxrothschild.com>
Cc: Evgeny Krasnov <evgeny.krasnov@buzko.legal>; Robert Lynch <robert.lynch@buzko.legal>; Roman Buzko
<roman.buzko@buzko.legal>
Subject: [EXT] FW: Distribution of BEEQB's equipment

Dear Karen,

I couldn’t reach Taylor and was wondering whether you could update me on any news regarding the
disposition of Beeqb’s mining equipment from the Gaffney facility.

Best Regards,
Filipp

From: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Date: Monday, 4 December 2023 at 18:39
To: Speer, R. Taylor <TSpeer@foxrothschild.com>
Cc: Evgeny Krasnov <evgeny.krasnov@buzko.legal>, Roman Buzko
<roman.buzko@buzko.legal>, Robert Lynch <robert.lynch@buzko.legal>
Subject: Re: Distribution of BEEQB's equipment

Dear Taylor,
                                                                                                    EXHIBIT I
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Is there any news on the distribution of property and ways we can accelerate the process?


Best Regards,
Filipp

From: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Date: Thursday, 16 November 2023 at 19:51
To: Speer, R. Taylor <TSpeer@foxrothschild.com>
Cc: Evgeny Krasnov <evgeny.krasnov@buzko.legal>, Roman Buzko
<roman.buzko@buzko.legal>, Robert Lynch <robert.lynch@buzko.legal>
Subject: Re: Distribution of BEEQB's equipment

Thank you, appreciate it.


Best Regards,
Filipp

From: Speer, R. Taylor <TSpeer@foxrothschild.com>
Date: Thursday, 16 November 2023 at 19:50
To: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Cc: Evgeny Krasnov <evgeny.krasnov@buzko.legal>, Roman Buzko <roman.buzko@buzko.legal>, Robert
Lynch <robert.lynch@buzko.legal>
Subject: RE: Distribution of BEEQB's equipment



Filipp, I will pass Mr. Eliseev’s contact information along to Blockquarry. And Blockquarry agrees with
your client’s view; the utility unnecessarily and unjustifiably restrained all personal property on the
Gaffney site—hence the litigation. Best,

    Image removed by sender. Fox Logo
  Image removed by sender. green bar
 R. Taylor Speer
 Counsel
 2 W. Washington Street
 Suite 1100
 Greenville, SC 29601
    Image removed by sender. Phone
 Icon
  (864) 751-7665
    Image removed by sender. Fax Icon
  (864) 751-7800
    Image removed by sender. Phone
 Icon
  tspeer@foxrothschild.com
  Image removed by sender. green bar
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From: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Sent: November 16, 2023 11:41 AM
                                                                                         EXHIBIT I
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To: Speer, R. Taylor <TSpeer@foxrothschild.com>
Cc: Evgeny Krasnov <evgeny.krasnov@buzko.legal>; Roman Buzko <roman.buzko@buzko.legal>; Robert Lynch
<robert.lynch@buzko.legal>
Subject: [EXT] Re: Distribution of BEEQB's equipment

Taylor,

From our client’s point of view, his equipment remained unnecessarily blocked at the facility, and he
could not transfer it to another service provider. We appreciate your willingness to step in and distribute
equipment now. We can reduce your client’s expenses by transporting BEEQB’s equipment directly from
the Gaffney facility ASAP.

Please pass to your client the phone number of the BEEQB owner, Maxim Eliseev: +1 786 202 9487,
and the email of his associate, Konstantin: kuznetsov.const@gmail.com.


Best Regards,
Filipp

From: Speer, R. Taylor <TSpeer@foxrothschild.com>
Date: Wednesday, 15 November 2023 at 19:13
To: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Cc: Evgeny Krasnov <evgeny.krasnov@buzko.legal>, Roman Buzko <roman.buzko@buzko.legal>, Robert
Lynch <robert.lynch@buzko.legal>
Subject: RE: Distribution of BEEQB's equipment



Filipp, the conclusion of the federal lawsuit demonstrates Blockquarry also “had no liability whatsoever.”
Note only Blockquarry stepped up to ensure the personal property on the Gaffney site was not harmed
or wasted by the utility’s unjustified conduct. And Blockquarry expended considerable legal expenses in
that effort. I am happy to pass BEEQB’s contact along to Blockquarry, and Blockquarry can
communicate, if it desires. In any event, I’m informed you will hear from me as described below. Best,

    Image removed by sender. Fox Logo
  Image removed by sender. green bar
 R. Taylor Speer
 Counsel
 2 W. Washington Street
 Suite 1100
 Greenville, SC 29601
    Image removed by sender. Phone
 Icon
  (864) 751-7665
    Image removed by sender. Fax Icon
  (864) 751-7800
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  tspeer@foxrothschild.com
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From: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Sent: November 15, 2023 9:18 AM
To: Speer, R. Taylor <TSpeer@foxrothschild.com>
Cc: Evgeny Krasnov <evgeny.krasnov@buzko.legal>; Roman Buzko <roman.buzko@buzko.legal>; Robert Lynch
<robert.lynch@buzko.legal>
Subject: [EXT] Re: Distribution of BEEQB's equipment

Also, my client would like to communicate directly with your client in order to speed up the process and
reduce your client’s costs on unnecessary transportation and testing.

Can you provide the contact so I can pass it on to my client, or can we arrange a joint call this week? We
want to do this as fast as possible since our client has been losing money with idle equipment for almost
a year now due to a lawsuit in which he had no liability whatsoever.


Best Regards,
Filipp

From: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Date: Wednesday, 15 November 2023 at 11:33
To: Speer, R. Taylor <TSpeer@foxrothschild.com>
Cc: Evgeny Krasnov <evgeny.krasnov@buzko.legal>, Roman Buzko <roman.buzko@buzko.legal>, Robert
Lynch <robert.lynch@buzko.legal>
Subject: Re: Distribution of BEEQB's equipment

Thank you. Can you provide any time estimation for this process?


Best Regards,
Filipp

From: Speer, R. Taylor <TSpeer@foxrothschild.com>
Date: Wednesday, 15 November 2023 at 01:44
To: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Cc: Evgeny Krasnov <evgeny.krasnov@buzko.legal>, Roman Buzko <roman.buzko@buzko.legal>, Robert
Lynch <robert.lynch@buzko.legal>
Subject: RE: Distribution of BEEQB's equipment



Hi, Filipp. At the moment all personal property from the Gaffney premises, including miners, is being
transferred to Blockquarry’s new site. When the property arrives at its intended location, Blockquarry will
inventory and test it. There was no electricity available at the Gaffney site. When Blockquarry’s
inspection is complete, I will advise you and your colleagues of the same. Best,

                                                     R. Taylor Speer
                                                     Counsel
                                                     Greenville, SC
                                                     (864) 751-7665
                                                     * 827-7665



From: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Sent: November 14, 2023 10:03 AM
To: Speer, R. Taylor <TSpeer@foxrothschild.com>
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       7:24-cv-03179-TMC            Date Filed 11/13/24          Entry Number 39-9           Page 6 of 6
Cc: Evgeny Krasnov <evgeny.krasnov@buzko.legal>; Roman Buzko <roman.buzko@buzko.legal>; Robert Lynch
<robert.lynch@buzko.legal>
Subject: [EXT] Distribution of BEEQB's equipment

Mr. Speer,

My name is Filipp Petkevitch, and our firm represents BEEQB LLC. Can you please indicate what plans
you have regarding the distribution of BEEQB’s equipment located at the Gaffney facility and how we
can help make it faster for our client?

Sincerely,

_________________________________
Filipp Petkevitch
Lawyer (admitted in New York)

Buzko Krasnov
+1 (567) 777-0021
Telegram: @scrio
filipp.petkevitch@buzko.legal
www.buzko.legal




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